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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                       CASE NO.: 17-60071-CR-BLOOM

 UNITED STATES OF AMERICA,

             Plaintiff,

 vs.

 CLAIDER VASQUES-AGINO,

           Defendant.
 _________________________/



                   MOTION FOR DOWNWARD VARIANCE

       COMES NOW, the Defendant, CLAIDER VASQUEZ-AGINO, moves this

 Court to grant him a variance downward from the recommended guidelines of 168

 months to 220 months. The defendant is requesting a sentence of 120 months. The

 grounds for this motion are that Mr. Claider Vasques-Agino committed the instance

 offense due to his dyer economic conditions.

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                          CERTIFICATE OF SERVICE



       I HEREBY CERTIFY that a true copy of the foregoing was electronically filed

 using the CM/ECF filing system on this 31st day of July, 2017.



                                 Respectfully submitted,

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